                 Case 2:19-cv-00528-SMD Document 11 Filed 08/20/19 Page 1 of 1
                               UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF ALABAMA
                                         OFFICE OF THE CLERK
                                     ONE CHURCH STREET, RM B-110
                                     MONTGOMERY, ALABAMA 36104

DEBRA P. HACKETT, CLERK
                                                                          TELEPHONE (334) 954-3600


                                          August 20, 2019




                CLERK’S NOTICE OF VOLUNTARY DISMISSAL


       Re: Ledic Realty Company, LLC v. Affordable Housing America, Inc.

               Civil Action No. 2:19-cv-00528-SMD


       Pursuant to the #10 Stipulation of Dismissal filed by Plaintiff Ledic
       Realty Company, LLC on 8/8/2019, this case is dismissed without
       prejudice without an order of the court.
